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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      MAGISTRATE NO.
                                              :
               v.                             :       (UNDER SEAL)
                                              :
JASON ROBERT CHARTER,                         :
                                              :
                       Defendant.             :

                                             ORDER

       Based on the representations in the Government's Motion to Seal the Statement of Facts

and Criminal Complaint, and to delay entry on the public docket of the filing of this motion to

seal, this Court makes the following:

                                        FINDINGS OF FACT

       This is an ongoing investigation of the defendant involving Destruction of Property, in

violation of 18 U.S.C. § 1361. According to the Government, the investigation remains open and

pending. The Statement of Facts and Criminal Complaint contains sensitive information that could

compromise the investigation should it be made public at this time.

       The public docketing at this time of the Statement of Facts and Criminal Complaint, and

the motion to delay entry on the public docket of the filing of this motion to seal, as well as the

Order granting such motion will likely substantially jeopardize the ongoing criminal investigation

and apprehension of the defendant.

       Based on the representations in the government's motion, Washington Post v. Robinson,

935 F.2d 282, 289 n. 10 (D.C. Cir. 1991), and this Court's findings of facts, this Court finds that

there is a compelling governmental interest in sealing the indictment, bench warrant, pleadings,

records and files in this case and that an extraordinary situation exists which justifies a delay in

the public docketing of any notice that the government's motion and this Order have been filed
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with the Criminal Clerk's office under seal.

       Based on the above, it is this 1st day of July, 2020,

       ORDERED that this Order, and the attached government motion to seal the Statement of

Facts and Criminal Complaint, and to delay entry on the public docket of the filing of this Motion

to Seal shall be filed under seal in the Criminal Clerk’s Office with exhibits shall be filed under

seal in the Criminal Clerk's office until the further order of this Court.

       It is further ORDERED that the Statement of Facts, Criminal Complaint, and Motion to

Seal in this case shall be placed under seal by the Criminal Clerk's office until further order of this

Court, or unsealed upon execution of the arrest warrant for Jason Charter.

       It is further ORDERED that the Criminal Clerk's office shall not make any entry on the

public docket in this case of the Government's Motion to Seal and the Order granting such motion,

and other pleadings filed under seal in this case until further order of this Court.

                                                       Deborah A. Digitally           signed by
                                                                             Deborah A. Robinson

                                                       Robinson              Date: 2020.07.01
                                                                             18:10:44 -04'00'
                                                        _____________________________
                                                        DEBORAH A. ROBINSON
                                                        United States Magistrate Judge




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